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OCT 29 209 +#UNITED STATES DISTRICT COURT

 

 

 

 

: for the
David J. Bradley, Clerk
Besethisn a ra id stented Southern District of Texas
United States of America )
Vv. )
A-1%-2041-™M
Juan Carlos TORRES, Jr. (Y.0.B. 1990) )  CaseNo, M-1%- 264
Citizenship: United States
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 28, 2019 in the county of _ Hidalgo in the
Southern District of Texas , the defendant(s) violated: ,
Code Section . Offense Description
21 USC § 952 Defendant did knowingly and intentionally possess with the intent to distribute
21 USC § 841 and knowingly and intentionally import into the United States from Mexico
approximately .22 kilograms of methamphetamine, a schedule II controlled
substance

This criminal complaint is based on these facts:

See Attachment "A"

a Continued on the attached sheet.

Approved AUSA Wh Mel”
a l0/24[ (

 

 

J/litichael Salinas, HSI Special Agent
V Printed name and title

Sworn to before me and signed in my presence.

 

Date: _ 10/29/2019 = 970% af.

 

Fudge’ S signature

City and state: McAllen, Texas Gueake r. A lead e— UY. f. hag Strede Seb 4 e

Printed nameMind title
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Attachment “A”

On October 28, 2019, Juan Carlos TORRES, Jr., a United States citizen, arrived for inspection
from Mexico via the pedestrian lane at the Hidalgo, Texas Port of Entry (POE). TORRES, Jr.
was referred for a secondary inspection and was escorted to a secure area where a pat-down.
search revealed a package concealed under his clothing in his groin area. The package was
retrieved by Customs and Border Protection Officers and was found to contain a crystal-like
substance which field tested positive for the properties of methamphetamine. The total weight of

the methamphetamine was .22 kilograms.

Homeland Security Investigations Special Agent Joe Michael Salinas responded to the Hidalgo
POE for investigative assistance and attempted to interview TORRES, Jr. TORRES, Jr.
requested an attorney and the interview was terminated.
